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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 18-CR-20707-RAR

  UNITED STATES OF AMERICA

  vs.

  MICHAEL ELISIO PEREZ,

        Defendant.
  ______________________________/

                     ORDER DENYING DEFENDANT’S MOTION FOR
                    EARLY TERMINATION OF SUPERVISED RELEASE

          THIS CAUSE comes before the Court on Defendant’s Motion for Early Termination of

  Supervised Release, filed on September 14, 2023 (“Motion”), [ECF No. 64]. The Government

  filed a Response in Opposition on September 22, 2023 (“Response”), [ECF No. 67]. The Court

  having carefully considered the Motion, the Response, the factors set forth in 18 U.S.C. § 3553(a)

  as required by 18 U.S.C. § 3583(e)(1), the record in this case, and being otherwise fully advised,

  it is hereby

          ORDERED AND ADJUDGED that the Motion is DENIED.                      The Court finds that

  continued supervised release is warranted “to reflect the seriousness of the offense, to promote

  respect for the law, and to provide just punishment for the offense[,]” as well as “afford adequate

  deterrence to criminal conduct[.]” 18 U.S.C. §§ 3553(a)(2)(A); (a)(2)(B); see also Johnson v.

  United States, 529 U.S. 694, 708-9 (2000).

          DONE AND ORDERED in Miami, Florida, this 22nd day of September, 2023.




                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
